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                         UNITED STATES DISTRICT COURT
                                                   for the
                                          District of New Mexico


         United States of America
                    v.
                                                                            Case No. 1:20-cr-1366 KWR
        ASAJOE
                 Defendant



                         WAIVER OF PERSONAL PRESENCE AT HEARING

         I, Asa Joe                                        Defendant, understand that I am scheduled for

a   Sentencing                                     hearing on June 22,       2022 .
         nature ofhearing                                        date

         I understand that I may appear by video for this proceeding. I hereby ask to be permitted to

appear for the hearing by video, and waive my right to be personally present for this hearing.




Date:
        June 21, 2021


                                                              efdefendant's attorney
                                                               Signal

                                                  Todd J. Bullion
                                                              Printed name of defendant's attorney

                                                  todd@bullionlaw.com
                                                                Defendant's attorney's e-mail address
